                           Case 3:21-md-02981-JD Document 888-50 Filed 12/21/23 Page 1 of 3




                                          Jaime Rosenberg

Larissa Fontaine




            Paul Feng Samer Sayigh

             Paul Feng Alistair Pott

            Larissa Fontaine

            Paul Feng
             Paul Feng     Samer Sayigh




                                                                                    EXHIBIT 8636

                                                                                          EXHIBIT 8636-001
                    Case 3:21-md-02981-JD Document 888-50 Filed 12/21/23 Page 2 of 3




          Paul Feng Larissa Fontaine




Sameer Samat


             Larissa Fontaine

          Sameer Samat
                               Paul Feng

                               Sameer Samat



 Vineet Buch

                   Paul Bankhead
   Paul Bankhead
             Larissa Fontaine



             Vineet Buch

                         Larissa Fontaine
                                Paul Feng

 Paul Bankhead
           Larissa Fontaine
Sameer Samat
            Paul Feng


 Paul Joyce
                   Paul Feng


                                 Paul Joyce

                         Andrew Zaeske


Larissa Fontaine

           Larissa Fontaine

   Paul Joyce
            Paul Feng

 Paul Bankhead




                                                                                   EXHIBIT 8636-002
                Case 3:21-md-02981-JD Document 888-50 Filed 12/21/23 Page 3 of 3
           Paul Feng
         Larissa Fontaine
 Vineet Buch
           Larissa Fontaine
  Vineet Buch

            Tia Arzu
         Sameer Samat
     Larissa Fontaine
  Paul Bankhead




          Sameer Samat
         Paul Feng

        Larissa Fontaine
          Paul Feng
          Vineet Buch
         Sameer Samat
            Paul Joyce
            Paul Joyce
                      Larissa Fontaine

                        Vineet Buch

         Sameer Samat
                      Paul Feng
                     Larissa Fontaine
                        Paul Feng
                     Larissa Fontaine




Sameer Samat




 Sameer Samat

      Larissa Fontaine
     Larissa Fontaine




                                                                Erin Crosby




                                                                               EXHIBIT 8636-003
